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                     UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA



DEMOCRATIC EXECUTIVE
COMMITTEE OF FLORIDA,
and BILL NELSON FOR U.S.
SENATE,

                     Plaintiffs,          Case No. ____________________

             v.

KEN DETZNER, in his official
capacity as Secretary of State of
the State of Florida,

                     Defendant.


       PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
       INJUNCTION, TEMPORARY RESTRAINING ORDER, AND
                   PRELIMINARY INJUNCTION

        NOW COME Plaintiffs Democratic Executive Committee of Florida

  and Bill Nelson for U.S. Senate (collectively, “Plaintiffs”), by and through

  their attorneys, and move the Court pursuant to Rules 65(a) and 65(b) of the

  Federal Rules of Civil Procedure for a preliminary injunction and temporary

  restraining order against Ken Detzner, in his official capacity as Florida

  Secretary of State. In support thereof, Plaintiffs state as follows:

        1.        On November 8, 2018, Plaintiffs filed their Complaint for

  Declaratory and Injunctive Relief, alleging that Plaintiffs are entitled to relief
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 from this Court for violations of their rights as well as the rights of their

 members and constituents—thousands of eligible Florida voters—under the

 the Fourteenth Amendment to the U.S. Constitution, pursuant to 42

 U.S.C. §§ 1983 and 1988.

      2.     Plaintiffs seek a temporary restraining order and preliminary

injunction enjoining Defendant, his officers, employees, and agents; all persons

acting in active concert or participation with Defendant, or under Defendant’s

supervision, direction, or control; and all other persons within the scope of

Federal Rule of Civil Procedure 65, from enforcing Fla. Stat. §§ 101.68(2)(c)(1)

and § 101.048(2)(b)(1). Plaintiffs further request that the Court toll the deadline

for the county canvassing board to submit “unofficial” results to the Department

of State until this matter can be heard, in order to ensure that all signed absentee

and provisional ballots are counted and included in all submitted results.

      3.     Federal Rule of Civil Procedure 65 provides for the issuance of a

temporary restraining order and preliminary injunction under circumstances such

as those that exist in the present case.

      4.     In support of this motion, Plaintiffs submit a Memorandum of Law,

addressing all necessary elements for the entry of a preliminary injunction, as

well as articles and studies supporting Plaintiffs’ claims.

      5.     Plaintiffs seek leave to present 30 minutes of oral argument in
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support of this Motion pursuant to Local Civil Rule 7.1(K).

       6.    Plaintiffs file this motion as an emergency motion pursuant to Local

Rule 7.1(L) since it is essential that this Court expeditiously rule on this motion

to ensure no voters are unfairly and arbitrarily disenfranchised.

       WHEREFORE, for the foregoing reasons, and for those set forth in

Plaintiffs’ supporting memorandum of law, Plaintiffs respectfully move that the

Court enter a temporary restraining order and preliminary injunction enjoining

Defendant, his officers, employees, and agents; all persons acting in active

concert or participation with Defendant, or under Defendant’s supervision,

direction, or control; and all other persons within the scope of Federal Rule of

Civil Procedure 65, from rejecting vote by mail and provisional ballots on the

basis of a signature mismatch. Plaintiffs further request that the Court toll the

deadline for the county canvassing board to submit “unofficial” results to the

Department of State until this matter can be heard, in order to ensure that all

signed absentee and provisional ballots are counted and included in all submitted

results.
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Dated: November 8, 2018


                              Respectfully submitted,

                                        /s/
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                              Counsel for Plaintiffs

                              *Pro Hac Vice Motion forthcoming
